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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                     Plaintiff,

              vs.                                              Case No. 21-cr-28

JAMES D. BEEKS,

                     Defendant.


                           ORDER PERMITTING TRAVEL

       Beeks’s motion to modify release conditions to travel is granted. He may travel

from the Middle District of Florida to the Western District of North Carolina from January

23 to January 28. All other conditions of release remain in place.

                                                                     2022.01.19
                                                                     08:52:39 -05'00'
       January __, 2022                          ____________________________________
                                                 Judge Amit P. Mehta, District Judge
